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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 MAHDI YAQUB,                          §
     Plaintiff,                        §
                                       §
 vs.                                   §
                                       §      CIVIL ACTION NO. 3:22-cv-1561
 TEXAS A&M COMMERCE,                   §
       Defendant.                      §
                                       §
                                       §
______________________________________________________________________________

                INDEX OF DOCUMENTS FILED IN STATE COURT
______________________________________________________________________________
     PAGES DATE         STATE COURT FILING
 1. 003-022 5/23/2022 Plaintiff’s Original Petition
 2. 023       6/6/2022  Plaintiff’s letter to the Court requesting issuance of citation
 3. 024-025 6/22/2022 Citation Issued
 4. 026-027 6/23/2022 Citation Executed
 5. 028-034 7/18/2022 Defendant’s Original Answer


                                              Respectfully submitted,

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       I certify that a copy of the foregoing document was served upon the following counsel of
record via the Court’s ECF system on the 19th day of July, 2022:

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                                                                                                        5/23/2022 6:13 PM
                                                                                                            FELICIA PITRE
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                                                                                                       DALLAS CO., TEXAS
                                                                                                Christi Undewvood DEPUTY

                                                  DC-22-05483
                                     CAUSE NO.

MAHDI YAQUB,                                         §             IN THE DISTRICT COURT 0F
                                                     §
         Plaintiff,                                  §
                                                     §
VS.                                                  §                  DALLAS COUNTY, TEXAS
                                                     §
TEXAS A&M COMMERCE,                                  §
A DIVISION OF TEXAS A&M                              §         298th
UNIVERSITY                                           §
                                                     §
         Defendant                                   §             JUDICIAL DISTRICT COURT


                                         ORIGINAL PETITION


TO THE HONORABLE JUDGE OF THIS COURT:

         COMES NOW Plaintiff, Mahdi Yaqub (“Yaqub“ or “Plaintiff ’), complaining of Defendant,

Texas A&M Commerce, a Division of Texas A&M University (“Texas A&M” or “Defendant”),

and ﬁles this his Original Complaint and for causes of action and would respectfully show the Court

as follows:

                                                     I.

                                            INTRODUCTION

         1.1        Plaintiff has brought this action for age discrimination, disability discrimination,

national origin discrimination, and unlawﬁll retaliation under the     ADEA, the ADA, Chapter 21 of
the Texas Labor Code, and the Texas Commission on Human Rights Act. Plaintiff alleges that

Defendant, through its agents, engaged in a pattern of age and national origin discrimination that has

resulted in distinct actions of disability discrimination that are actionable and fall Within the

jurisdiction of this Court.

         1   .2     On August 27, 2020, Plaintiff ﬁled a charge with the Texas Workforce Human Rights



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Division that claimed unlawful age bias dating back to 2018 and as recently as 2020, and disability

and national origin discrimination, and retaliation. Plaintiff’ s reports were based upon a good-faith

and reasonable belief that he had been a Victim       of a recurring pattern of age, national origin, and

disability discrimination and retaliation.

         1.3        On March 24, 2022, Plaintiff requested the Texas Workforce Commission Civil

Rights Division (“TWCCRD”) to issue him a “Right to Sue Letter.” On March 27, 2022, the Texas

Workforce Commission issued a Notice of Dismissal and Right to File Civil Action and Plaintiff‘s

complaint has been ﬁled within 60 days of the issuance of said notice.

                                                      II.

                                                 PARTIES
         2.1        Plaintiff Mahdi is an individual who at all times relevant herein was a resident of

Texas. Plaintiff currently resides at 15340 Meadowood Drive, Grand Haven, Michigan 49417, and

may be contacted through the undersigned counsel.

         2.2        Defendant Texas A&M Commerce is a state and federally funded Division of Texas

A&M University,        located at 1230   TAMU, College station Texas 77483,     and is represented by the

Texas Attorney. General's ofﬁce located in Austin, Texas.

                                                     III.

                                     JURISDICTION AND VENUE

         3.1        The jurisdiction of this Court is invoked pursuant to the Texas Human Rights Act

(“TCHRA”).
         3.2        Venue for all causes of action stated herein lies in the District of Texas because the

acts alleged in this Complaint took place in whole or in part within the boundaries       of this District.

         3.3        Defendant has waived its sovereign immunity from being sued under the




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aforementioned statutes because at all relevant times herein and through the present date, Defendant

has received and continues to receive state and federal funding. Consequently, Defendant is not

immune from suit and this Court has jurisdiction to hear all claims against Defendant.

         3.4        All conditions precedent to this   suit have been satisﬁed, as Plaintiff ﬁled a timely

charge of discrimination with the Texas Workforce Commission and received a Notice of Right to

Sue on March 27, 2022.

         3.5        Defendant has, at all relevant times, employed over twenty (20) employees in the

current or preceding calendar year and has waived sovereign immunity under the Texas Human

Rights Act.

         3 .6       Defendant, Texas A&M Commerce, is an employer within the meaning of the Texas

Human Rights Act.

                                                    IV.

                                      FACTUAL ALLEGATIONS
         4.1        Plaintiff is 62 years of age. His national origin is Arabic. His religion is Muslim.

         4.2        On August 19, 2016, Plaintiff started his employment with Defendant as a Tenure-

Track Assistant Professor in the Engineering and Technology Department.

         4.3        Plaintiff is an excellent faculty member and at all times has met or exceeded

Defendant’s expectations.

         4.4        Plaintiff’s teaching and academic abilities are corroborated by numerous positive

reviews from his students. Plaintiff came to Defendant with an extensive educational background,

boasting two engineering Doctorates, two engineering Masters’ Degrees, and a Masters’ Degree in

Business Administration (“MBA”), all awarded from top-tier American universities. In addition to

his education, Yaqub has twenty-three years of senior-level industry practice in engineering and




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management experience, including thirteen years at Intel Corporation and two years at         NASA.

Plaintiff’s education and industry experiences were augmented with three years of an academic

leadership role as Endowed Pinson Chair Professor (Associate Professor Rank) at San Jose State

University.

         4.5        During Plaintiff’s employment with Defendant, Plaintiff was recognized multiple

times for academic leadership awards. Plaintiff personally received numerous grants from the

University for his research, and successfully secured sixteen industry partnership projects to his

department and senior students. Up until Plaintiff’s last two weeks prior to his summary

termination, Plaintiff received nothing but positive performance evaluations.

         4.6        On or about August of 201 8, Defendant promoted Andrea Graham (“Graham”) to

the position   of Department Head. Graham is in her late thirties and is less qualiﬁed than Plaintiff.

         4.7        Following Graham’s promotion to Department Head, Plaintiff began to experience

various adverse actions that he now believes were motivated by his national origin, his age, and his

disability. In addition to being 60 years old, Plaintiff suffers from a chronic vision impairment that

affects an essential life function. With a reasonable accommodation, Plaintiff can perform the

essential functions of his University job.

         4.8        Beginning in August, 2018, Graham began to exclude Plaintiff ﬁom various position

opportunities within the University and offered those positions to younger, less qualiﬁed,

Caucasian and Asian colleagues, despite Plaintiff” s repeated requests to be considered for the same.

          Speciﬁcally:

          i.        Graham assigned an inexperienced Assistant Professor, Soujung Kim (“Kim”), to

                    the role of Industrial Engineering Program Chair and Advisor without posting the


                    position or informing Plaintiff of this opportunity. Kim is Korean and in his mid-



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                    twenties.

          ii.       After Plaintiff began developing a Six Sigma Certiﬁcation Program in October,

                    2018, Graham reassigned the program and its responsibilities to Kim, who was

                    allowed to place his name on the program while Plaintiff’s name was excluded.

         4.9        During this same time frame, Graham also announced that Kim would be Plaintiff’ s

advisor, even though Graham knew that Plaintiff had a far superior educational background and

substantially more work experience by 23 years. Graham also knew that Plaintiff held the higher

position of Endowed Chair Associate Professor at San Jose State University for three years prior to

joining Texas A&M Commerce.

         4.10       Plaintiff joined the Department at approximately the same time as three other

younger faculty members, Kim, Burchan Aydin (“Aydin”, who was in his early-thirties), and Jae

Yeon (“Yeon”, who is in his mid-twenties). These three individuals joined the Department fresh

out of college with no prior teaching nor industry experience.

         4.11       Graham also assigned the Department’s responsibilities, curriculum, student

advising, and professional organization activities to Kim and Aydin, both of whom are younger

than Plaintiff and have no prior academic or industry experience.           Plaintiff had expressed to

Graham both orally and in writing his interest in the student advising and professional organization

activities, however, he was not assigned to any of these roles despite his superior experience.

         4.12       In late September, 2018, Plaintiff met with Graham to discuss his growing concern

that he was not being properly utilized and appeared less useful and valuable to the University due

to Graham’s assignment          of leadership roles to his younger colleagues. Graham promised to take

future action to address Plaintiff” s concerns, but took no action to help Plaintiff and instead, began

retaliating against him.



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         4.13       In October of 2018, Plaintiff again met with Graham to discuss his concerns

regarding her favorable treatment of the younger colleagues. Plaintiff proposed developing a Six

Sigma Certiﬁcation program and a Master’s degree program in Engineering in which Plaintiff

would have the role of Senior Students’ Career and Professional Development Advisor. Graham

agreed with this proposal.

         4.14       The following week, when Plaintiff followed up on his proposal, Graham stated she

assigned the position to Kim and would assign Plaintiff to the Industrial Eigineering program

curriculum and Chair Faculty Search Committee the following year. Graham never followed up

with Plaintiff on these promises. Instead, Graham gave both assignments to Aydin and Kim.

         4.15       In September, 2019, Kim put his name on the Six Sigma Certiﬁcation program,

which had been entirely developed by Plaintiff. When Plaintiff reported this to Graham, she

admitted that she had assigned      Kim the Six Sigma Certiﬁcation chair.

         4.16       Graham refused to provide Plaintiff a graduate assistant for research, while

simultaneously providing such assistants to other younger professors. For example, Aydin was

provided with a graduate assistant for research (each paid $30,000 per year) in 2017, 2018, 2019,

2020, and 2021. Likewise, Kim had a graduate assistant in 2017, 2018, 2019, and 2020. Finally,

Assistant Professor Jae Yeon had a graduate assistant assigned to him in 2020, despite negative

student feedback and confrontation with a student.       By contrast, Plaintiff was denied a graduate

research assistant during the same ﬁve year period. Graham and Dean Donham (“Donham”) also

denied Plaintiff leftover funding of only $5,000, despite Plaintiff’ s status as a peer-elected, Lead

Investigator (“PI”) for three high-Visibility multi-university research projects.

         4.17       Plaintiff endured numerous age-related comments ﬁom his younger colleagues. For

example, in March of 20 1 9, Aydin asked Assistant Professor Jae Yeon, approximately in his mid-




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twenties and Korean, “how do you like working with an old guy?” This comment was made in

front of Plaintiff s ofﬁce, suggesting that Aydin intended Plaintiff to hear this statement.

         4.18       In the fall of 2019, Graham assigned Plaintiff to teach Construction Engineering

(“CONE”), a course that Graham knew was outside of Plaintiffs area of expertise. The assigned
course had one section ﬁlled with Industrial Engineering majors and the other section comprised of

CONE majors. Plaintiff was unaware            and not informed that the    CONE students had already

covered the material. Consequently, Plaintiff was put in the position of reteaching material that

some    of the students had previously covered.

         4.19       In October 2019, Plaintiff once again raised his concerns to Graham that he had lost

respect in the eyes of the students because of Kim’s appointment in which a younger student acted

as   Plaintiff’s superior. Graham responded, “I assigned him to be your boss.” Later that month,

Aydin said to Plaintiff “You should be on a yacht or on the beach, why are you here?” insinuating

that Plaintiff was old enough to retire. Plaintiff did not mention or express any intention of retiring

any time in the near future.

         4.20       In October 2019, Plaintiff suffered from sudden Vision loss, drastically impairing his

ability to read. Everyone in the department was aware of Plaintiffs sudden Vision loss. After

Plaintiffs Vision loss, Plaintiff made three (3) separate requests to meet with Graham to discuss his

medical condition and its effect on his job. Graham never responded to Plaintiffs multiple

requests.

         4.21       In December 2019, Plaintiff emailed Graham to request that she update his resume

and schedule of classes on the University webpage, a routine request that all other faculty members

granted. Graham refused and instead posted a summary version that did not show any of Plaintiff s

accomplishments during his previous 3-year tenure (2016 to 2019) at Texas             A&M Commerce.



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Plaintiff then observed that his proﬁle and picture were removed from the University webpage yet

the other younger faculty members’ proﬁles and photos were not removed. Similarly, the webpage

excluded Plaintiffs numerous accolades, but included the other younger faculty members’

accolades.

         4.22       On December 3, 2019, Plaintiff emailed Graham, informing her that he would be

missing his class and ofﬁce hours that day due to a scheduled eye-surgery the following week.

Graham did not respond to Plaintiff” s email. Plaintiff had two eye surgeries initially scheduled for

December l 1th, which were delayed to January 22, 2020 and February 5, 2020 due to

complications.

         4.23       As a result, the CONE students rated him a below average score of 2.93   as opposed

to the Industrial Engineering students who gave Plaintiff an above average rating            of 3.97. In

previous years, Yeon taught the same CONE course and received negative student comments, poor

ratings, and engaged in a confrontation with a student. Yeon faced no discipline afterwards and

was given a graduate assistant.

         4.24       In early January, Graham approved Plaintiff s request for two (2) weeks’ time-off to

obtain eye surgery.

         4.25       In mid-January 2020, Graham, who was well aware of Plaintiff s Vison impairment

loss and upcoming surgeries, asked Plaintiff, in front of his students, to produce written training

material, knowing he could not read at that time because Plaintiff had repeatedly reminded Graham

of his impaired vision.

         4.26       On January 30, 2020, Graham met with Plaintiff to discuss his 2019 Annual

Evaluation Report. The evaluation was positive in all areas. Plaintiff was rated "meets

expectations." Graham signed off on the evaluation at the conclusion of the meeting.




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         4.27       Two weeks later, on February 13, 2020, Plaintiff had just returned from medical

leave. Graham asked Plaintiff to meet with her to revisit his signed evaluation. Graham informed

Plaintiff that Dean Brent Donham and Graham had decided to change his tenure evaluation, rating

his overall tenure performance as "Partially Meets Expectations." This change in Plaintiff” s rating

occurred after the College Tenure Evaluation Committee had recommended that Plaintiff continue

his tenure track. Plaintiff has since learned that Graham intentionally excluded Plaintiffs valuable

experience and awards from consideration by the tenure committee in order to promote two other

younger professors, who are signiﬁcantly less qualiﬁed, less educated, and less experienced than

Plaintiff.

         4.28       In addition to lowering his tenure rating, Graham also altered Plaintiffs previously

signed evaluation by removing several of Plaintiffs signiﬁcant accomplishments that had been

listed in the review two weeks earlier. The net result of these negative adjustments adversely

affected Plaintiffs tenure track. Plaintiff had tried to explain that he had been blind for the better

part of the Fall, 2019, but no accommodation was provided to Plaintiff for this perceived disability.

         4.29       Plaintiff also noted that the CONE course, which had brought down his overall

evaluation, was an outlier. Plaintiff reminded Graham that he had never taught the course before, it

was not a part of his expertise, and was offered by a different Department than the one he was hired

to teach. (Plaintiff was hired as an Industrial Engineering faculty but not a Construction


Engineering faculty). Graham did not reply to his cements, asking instead that he sign the

modiﬁed and downgraded evaluation. Plaintiff asked to meet with Donham before signing as he

was blind and did not understand what had changed other than that he received a positive

performance evaluation just before his medical leave, and it is changed during his medical leave.

         4.30       The following day, on February 14, 2019, Plaintiff met with Donham. Donham told



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Plaintiff that his teaching scores had dropped in Fall 2019 due to the CONE Class. Plaintiff again

explained that he had begun having troubles due to his unfamiliarity with the course and his

medical condition.

         4.31       Donham asked Plaintiff when he started having a medical condition. Plaintiff told

Donham that he had lost his ability to read in early October and his overall Vision was almost gone.

Donham asked Plaintiff who knew about his Vision impairment.                Donham asked Plaintiff     if
Graham knew of his Vision impairment. Plaintiff explained to Donham that Graham was well

aware   of his vision impairment and that he had sent her emails informing her of his absences in

preparation of his eye surgery, and met with her in early January to fully explain his medical

conditions and of the accommodations that he required.

         4.32       In response, Donham told Plaintiff it would be better for him to go back to San Jose,

California. Plaintiff asked Donham if that meant his contract would not be renewed. Donham did

not give Plaintiff a clear response, but told Plaintiff that he would discuss the issue with Provost

Humphreys who emphasized research. Donham commented that Plaintiff had just won a sizable

and very competitive research grant.

         4.33       After the meeting, Donham insisted, through a follow up email, on a signature to

acknowledge receipt, and stated in his email, "You have provided your reasons as to why the scores

dropped, including a medical condition that no one is challenging."

         4.34       On March 16, 2020, the Department awarded four younger faculty $30,000 each to

support their research. Plaintiff’ s earlier request for the remaining funds      of $5,000 was denied

despite the multiple accolades Plaintiff had received for his research. Out of the ﬁfteen other

faculty, Yaqub was the most educated, most qualiﬁed, and most experienced, but the least paid.

With many (7 out of 15) other of his counterparts holding doctorate degrees in non-engineering



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ﬁelds, or only a single Masters’ degree, Plaintiff held two doctorates in Engineering.

         4.35       During his employment with the University, Plaintiff regularly heard his colleagues

make age-related comments about him. The University perpetuated this ageist culture after late

2018 by downplaying Plaintiff‘s academic efforts and excluding him from the challenging and

meaningful work assignments which were instead given to the younger Assistant Professors.

         4.36       On March 18, 2020, Defendant notiﬁed Plaintiff that he was terminated. Plaintiff” s

last active day of employment with Defendant was May 31, 2021. Plaintiff was subsequently

replaced by an Asian individual fresh out of college, and a recent PhD graduate in his late twenties

with no prior experience. The University’s pattern of hiring young recent college graduates as

professors evidences the University’s age discrimination, and Plaintiff was a Victim of this practice.

         4.37       Contemporaneously with these events, Defendant had announced a buyout for

tenured professors over the age      of 60. Plaintiff was disqualiﬁed from this buyout by Virtue of the

revised performance evaluation that he received in March 2020.

         4.3 8      Plaintiff was denied this offer as a result of the unfair reevaluation which was based

upon the same events that contributed to a satisfactory evaluation two weeks previously. Plaintiff

also just received a recent positive recommendation by the College of Science             & Engineering

Tenure Committee only one semester before his discriminatory termination. Moreover, Graham

intentionally excluded valuable experience and awards from consideration by the Tenure

Committee in order to promote younger assistant professors (Kim and Aydin), who are

signiﬁcantly less qualiﬁed than Plaintiff, less educated, and less experienced, who were also

working on temporary work Visas.

         4.39       The University gave younger and less qualiﬁed professors signiﬁcantly more pay and

raises, than it gave Plaintiff, despite his greater experience, performance and more stringent




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workload.

         4.40       After Plaintiff ﬁled a discrimination complaint with TWCCRD, Graham and Dean

Donham retaliated against Plaintiff by denying him an inﬂation related salary increase that every

other faculty member in the department received. Retaliation is evident as Plaintiff was denied an

inﬂationary salary increase despite receiving the highest teaching evaluation scores among

engineering faculties, the only faculty in the department to win a signiﬁcant external research grant

and authoring two publications that year.

         4.41       Plaintiff has also faced excessive differential treatment on account of his national

origin, Palestinian.      Dean Donham and Graham have treated Plaintiff differently, repeatedly

demonstrating a preference for American, Caucasians, and Korean faculty. Upon hire, Plaintiff

replaced Dr. Horton, an American professor. Dr. Horton taught senior-level courses in industrial

engineering and had industry experience similar to Plaintiffs. However, Plaintiff was more formally

trained, holding two doctorates and three master's degrees. Furthermore, Horton was granted the

title of associate professor despite TAMUC's refusal to give him tenure. Upon hire, Donham paid

Plaintiff less and appointed him to a lower rank than Horton.

         4.42       Currently, of the ﬁfteen in his Department, Plaintiff is the most educated, qualiﬁed,

and experienced, but somehow the least paid. Currently, of the ﬁve American faculty, Davis, Smith,

Moler, Carter, and McAnally, all have no recent research activities or publications and have not been

terminated. Moler's background is not engineering as his Ph.D. is in Human Resource Management.

Likewise, Davis is an associate professor in the Engineering & Technology Department with a Ph.D.

in Human Resources. Smith's doctorate is in Business (OBA). McAnally has a doctorate in

Education, and Carter has a Master's degree. Additionally, Yoen (Korean, and in his mid-twenties)

has a PhD in Architecture, but not in Engineering, and Dean Donham (Dean of College           of Science



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and Engineering) has a Doctorate in Education, but not in Engineering or Science. A11 are paid more

than Plaintiff.

          4.43      Furthermore, Dr. Yeon, a Korean professor, faced no discipline or threats to his

employment as a result of receiving bad student comments and scores, in addition to his having a

confrontation with a student. Despite these lax takes on the rules for these American and Korean

professors, Plaintiff was terminated. There is no substantial difference between his professional

record and the others other than his higher years of experience, education, and successful research

efforts. As such, Plaintiff has clearly faced intentional discrimination on the basis of his national

origin.

                                                      V.

                                            CAUSES 0F ACTION

                                                 First Count

            Age Discrimination In Violat_ion of Chapter 21 of the Texas Labor Code

          5.01      The foregoing paragraphs of this Complaint are incorporated in this Count by

reference as     if set forth at length herein verbatim.
          5.02      At all times relevant herein, Plaintiff was in the protected age bracket and meeting

Defendant’s expectations.

          5.03      Defendant has discriminated against Plaintiff by discriminating against him due to his

age with respect to the terms and conditions of his employment by:

                    a.   Treating Plaintiff differently by giving preferential treatment to younger, less

                    experienced individuals;

                    b. removing   Plaintiff from his tenure track despite recent positive recommendation

                    by the College Tenure Committee; and



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                    c. terminating   Plaintiff s employment and replacing Plaintiff with signiﬁcantly

                    younger employees.

         5.04       Defendant's conduct violated Chapter 21 of the Texas Labor Code which prohibits

age discrimination.

         5.05       Defendant intentionally engaging in unlawful employment practices prohibited by 42

U.S.C.   § 2000e et seq.

         5 .06      The acts of age bias and favoritism described above occurred within 180 days prior to

the ﬁling   of Plaintiffs charge of unlawful discrimination.

         5 .07      Although not the only action, Defendant’s conduct demonstrates an historic pattern of

unlawful age bias that manifested itself in the form of deliberately ignoring Plaintiffs

accomplishments, and not considering Plaintiff for assignments that Defendant gave to younger, less

qualiﬁed individuals ultimately terminating Plaintiff s employment.

         5.08       All   conditions precedent to ﬁling this action for discrimination under Chapter 21

have been met. Plaintiff timely ﬁled his charge of discrimination on the basis of age disability and

retaliation.

         5.09       Plaintiff received a Notice of Right to Sue within the 60 days prior to ﬁling this

lawsuit.

         5.10       Defendant has engaged in a single continuous course of conduct of discrimination

against Plaintiff because of his age with the intent destroy Plaintiff’ s career and cause him to suffer

ﬁnancial damages.

         5 .1   1   Such discrimination has caused Plaintiff to suffer future pecuniary losses, emotional

pain and suffering, inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

         5.12       Defendant acted with intentional malice or with reckless indifference to Plaintiff’ s




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protected rights. Such discrimination constitutes gross, wanton, reckless, and/or intentional Violation

of Plaintiff’ s rights under Chapter 21. Plaintiff is therefore also entitled to recover punitive damages

in a sum which is in excess of the minimum jurisdictional limit of this Court. Plaintiff is also

entitled to recover all costs of court and attorneys’ fees.

                                                    VI.

                                               Second Count

            Disability Discrimination In Violat_ion of Chapter 21 of Texas Labor Cog

          6.01      The foregoing paragraphs of this Petition are incorporated in this Count by reference

as   if set forth at length herein.
          6.02      Defendant A&M Commerce employs at least ﬁfteen employees and is an employer

within the meaning of the Texas Human Rights Act.

          6.03      Conditions precedent to ﬁling this action for discrimination under Texas state law

have been met. Plaintiff timely ﬁled his charge of discrimination on the basis of disability with the

Texas Commission on Human Rights. Plaintiff ﬁled the instant action more than 180 days after the

ﬁling of the charge.

          6.04      Plaintiff suffered a chronic Vision impairment that constitutes an essential life

function.

          6.05      Plaintiff was still able to perform his job with a reasonable accommodation.

          6.06      Despite Plaintiffs repeated requests, Defendant failed to accommodate Plaintiff’s

actual and perceived disability and in doing so violated the Texas Human Rights Act, Texas Labor

Code §21.001 et seq, by discharging Plaintiff and/or discriminating against Plaintiff in connection

with compensation, terms, and conditions or privileges of employment because of Plaintiff’s

disabinty.



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          6.07      Defendant has engaged in a single continuous course of conduct of discrimination

against Plaintiff because of disability in order to destroy Plaintiff, his career, and his personal life.

          6.08      Such discrimination by Defendant against Plaintiff was intentional. Accordingly,

Plaintiff is entitled to recover damages from Defendant for lost wages from teaching opportunities

that Plaintiff could have otherwise performed but for her mandatory administrative leave, front pay,


promotional opportunities for which he would have been otherwise eligible, past and future

pecuniary losses, emotional pain and suffering, inconvenience, loss of enjoyment of life, and other

non-pecuniary losses. Further, this discrimination was done by Defendant with malice or with

reckless indifference to Plaintiff s state-protected rights. Plaintiff therefore is also entitled to recover

punitive damages in a sum which is in excess of the minimum jurisdictional limit of this Court.

Plaintiff is also entitled to recover all costs of court, attorneys’ fees, and expert fees as allowed by

Texas Labor Code Ann. §21.259.

                                                    VII.

                                               Third Count

      National Origin Discrimination in Violation of Chapter 21 of the Texas Labor Code

          7.01      The foregoing paragraphs of this Petition are incorporated in this Count by reference

as   if set forth at length herein.
          7.02      Defendant A&M Commerce employs at least ﬁfteen employees and is an employer

within the meaning of the Texas Human Rights Act.

          7.03      Conditions precedent to ﬁling this action for discrimination under Texas state law

have been met. Plaintiff timely ﬁled his charge of discrimination on the basis of national origin

with the Texas Commission on Human Rights. Plaintiff ﬁled the instant action more than 180 days

after the ﬁling of the charge.

Original Petition                                                                                  Page 16




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  Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22                      Page 19 of 34 PageID 27



         7.04       Plaintiffs national origin is Palestinian-Arabic. Because of his national origin,

Muslim Plaintiff suffered humiliation, the loss of several job opportunities, and was unfairly denied

tenure and employment on the basis for his national origin.

         7.05       Despite Plaintiffs superior job performance, work experience and repeated requests

for consideration for these positions, Defendant failed to consider Plaintiff for several job openings

and unfairly revised Plaintiffs job evaluation in order to prevent Plaintiff from attaining tenure and

ultimately terminate his employment. In doing so, Defendant violated the Texas Human Rights Act,

Texas Labor Code §21.001 et seq, by discharging Plaintiff and/or discriminating against Plaintiff in

connection with compensation, terms, and conditions or privileges of employment because of

Plaintiffs national origin.

         7.06       Defendant has engaged in a single continuous course of conduct of discrimination

against Plaintiff because of his national origin in order to destroy Plaintiff, his career, and his

personal life.

         7.07       Such discrimination by Defendant against Plaintiff was intentional. Accordingly,

Plaintiff is entitled to recover damages from Defendant for lost wages from teaching opportunities

that Plaintiff could have otherwise performed but for her mandatory administrative leave, front pay,

promotional opportunities for which he would have been otherwise eligible, past and future

pecuniary losses, emotional pain and suffering, inconvenience, loss of enjoyment of life, and other

non-pecuniary losses. Further, this discrimination was done by Defendant with malice or with

reckless indifference to Plaintiff s state-protected rights. Plaintiff therefore is also entitled to recover

punitive damages in a sum which is in excess of the minimum jurisdictional limit of this Court.

Plaintiff is also entitled to recover all costs of court, attorneys’ fees, and expert fees as allowed by

Texas Labor Code Ann. §21.259.




Original Petition                                                                                   Page 17

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                                                      VIII.

                                                 Fourth Count

                     Retaliation In Violation of Chapter 21 of Texas Labor Code

         8.01       Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs and incorporates the same as          if set forth herein at length.
         8.02       Plaintiff is an employee within the meaning of Title VII.

         8.03       Defendant is an employer within the meaning of Title VII. 42 U.S.C. § 2000e(b).

         8.04       Plaintiff timely ﬁled with the Texas Human Rights Commission a charge of

discrimination for retaliation against Defendant

         8.05.      Plaintiff received Notices of the Right to Sue from the Texas Workforce Commission

within sixty (60) days of the ﬁling of this Complaint.

         8.06       Plaintiff made repeated inquiries as to why younger individuals were being assigned

to projects for which Plaintiff was eligible and in which Plaintiff had also expressed an interest to

Defendant.

         8.07       Despite Plaintiff‘s inquiries and reports of disparate treatment, Defendant took no

action to assist Plaintiff and in fact retaliated against Plaintiff by down grading Plaintiff’s

employment evaluation and thereafter terminating Plaintiff’s employment, thereby preventing

plaintiff from qualifying for tenure despite recent recommendation by the College Tenure

Committee, and intentionally excluding Plaintiff’s valuable experience and awards from

consideration by the tenure committee, in order to promote younger, who are signiﬁcantly less

qualiﬁed, less educated and less experienced.

         8.08       As   a result   of Defendants’ unlawful employment practices, Plaintiff has suffered

damages including lost wages, front pay, past and future pecuniary losses, emotional pain and




Original Petition                                                                                Page 18

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  Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22                       Page 21 of 34 PageID 29



suffering, inconvenience, mental anguish, loss of enj oyment of life, and other non-pecuniary losses,

and seeks to recover for those sums.

         8.09       Defendant’s retaliatory action was intentional, willful and malicious so that Plaintiff

is entitled to recovery of exemplary damages.

                                                     IX.

                                                Fifth Count

                                              Attorneys’ Fees

         9.01       Plaintiff incorporates the foregoing paragraphs of this Complaint as    if set forth at

length verbatim.

         9.02       The preparation and ﬁling of this Complaint has necessitated the hiring of attorneys.

Plaintiff seeks to recover reasonable and necessary attorneys’ fees as allowed by Chapter 21 of the

Texas Labor Code.

                                                      X.
                                       JURY TRIAL DEMANDED
         10.01      Plaintiff demands trial by a jury of all claims as allowed by statute and common law.

         WHEREFORE, PREMISES CONSIDERED, Plaintiff prays                     that Defendants be cited to

appear and answer herein and that upon ﬁnal trial Plaintiff have and recover the following relief

against Defendants:

         1)         Judgment for actual damages in the amount of past and future lost earnings and

                    beneﬁts and damages to past and future earnings capacity and past and future

                    medical counseling expenses;

         2)         Judgment for back pay and front pay as allowed by law;

         3)         Judgment for past and ﬁlture pecuniary losses, emotional pain and suffering,



Original Petition                                                                                  Page 19

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  Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22                      Page 22 of 34 PageID 30



                    inconvenience, loss of enjoyment of life, and other non-pecuniary losses.

         4)         Damages for past and ﬁlture mental anguish, emotional distress, and physical

                    distress;

         5)         Reinstatement to full tenured position with full seniority;

         6)         Exemplary damages in an amount to be determined by the trier of fact;

         7)         Prejudgment and post-judgment interest at the maximum legal rate;

         8)         Attorneys’ fees;

         9)         Expert fees;

         10)        All costs of court; and

         1   1)     Such other and further relief to which Plaintiff may be justly entitled.


Date: May 23, 2022                                          Respectfully submitted,

                                                           KILGORE & KILGORE, PLLC

                                                       By: /s/ Nicholas A. O’KellV
                                                           Nicholas A. O'Kelly
                                                            State Bar No. 15241235
                                                           nao@kilgorelaw.com
                                                           3109 Carlisle Street, Suite 200
                                                           Dallas, TX 75204
                                                           (214) 969-9099 - Telephone
                                                           (214) 953-0133 - Fax

                                                           ATTORNEYS FOR PLAINTIFF
                                                           MAHDI YAQUB




Original Petition                                                                               Page 20

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            Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22 Page 23 of 34 PageID 31                                DusFTEFEI'S'TAcPL'EEE
                                                                                                                 DALLAS CO., TEXAS
                                                                                                          Christi Undewvood DEPUTY


                                                                                                   KILGORE LAW

                                                                                             Nicholas A. O’Kelly
                                                                                             nao@kilgorelaw.com
                                                                                             214-379-0827 direct
                                                                                             214-379-0848 fax

          June 6, 2022

           Via E-File

          Clerk of Court
          298th Judicial District Court
          Goerge L. Allen Sr. Courts Building
          600 Commerce Street, 8th Floor
          Dallas, TX 75202

              RE: Cause No. DC-22-05483; Mahdi Yaqub V. Texas A&M Commerce, a Division of Texas
                  A&M University - Request for Citation

          Dear Court Clerk,

                  This is a request to please issue a Citation in the above-referenced matter to Defendant in
          this case, Texas A&M Commerce, a Division of Texas A&M University. We have paid the fee
          with this ﬁling.

                  If it is possible, please email the citation to my paralegal,   Susan Witt, at
          saw@kilgorelaw.com. Thank you.




                                                      Wélk
                                                     Sincerely,


                                                    Nicholas A. O’Kelly




          Kilgore & Kilgore PLLC 3141 Hood Street, Suite 500 Dallas   TX 75219
                                                                                                       kilgorelaw.com
                                                                                                             023
FORM NO. 353-3—CITATION
            Case 3:22-cv-01561-E                             Document 1-4 Filed 07/19/22                Page 24 of 34 PageID 32
THE STATE OF TEXAS                                                                                                                    ESERVE
                                                                                                                                    CITATION
To:      TEXAS A&M COMMERCE, A DIVISION 0F TEXAS A&M UNIVERSITY
         1230    TAMU
         COLLEGE STATION TX                77483
                                                                                                                                  N0.: DC-22-05483
GREETINGS:
You have been sued. You may employ an attorney. If you or your attorney do not ﬁle a written
                                                                                                                                 MAHDI YA! QUB
answer with the clerk who issued this citation by 10 o'clock am. of the Monday next following the
                                                                                                                                     LS-
expiration of twenty days after you were served this citation and petition, a default judgment may                           TEXAS A&M COMMERCE
be taken against you. In addition to ﬁling a written answer with the clerk, you may be required to
make initial disclosures to the other parties of this suit. These disclosures generally must be made
no later than 30 days after you ﬁle your answer with the clerk. Find out more at                                                       ISSfJED
TexasLawHelp.org. Your answer should be addressed to the clerk of the 298th District Court at                            on this the 22nd day of June, 2022
600 Commerce Street, Dallas, Texas 75202.

 Said Plaintiff being MAHDI YAQUB                                                                                                   FELICIA PITRE
                                                                                                                                  Clerk District Courts,
Filed in said Court 23rd day of May, 2022 against                                                                                 Dallas County, Texas

 TEXAS A&M COMMERCE, A DIVISION OF TEXAS A&M UNIVERSITY                                                                    By:   KARI MALONE, Deputy
For Suit, said suit being numbered DC-22—05483, the nature of which demand is as follows:                                         Attorney for Plaintiff
Suit on EMPLOYMENT etc. as Shown on said petition, a copy of which accompanies                                             NICHOLAS ALBAN O'KELLY
this citation.   If this citation is not served,   it shall be returned unexecuted.                                       Attn KILGORE & KILGORE PLLC
                                                                                                                                 3109 CARLISLE ST
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                                  DALLAS TX 75204-2471
Given under my hand and the Seal of said Court at ofﬁce 0n this the 22nd day of June, 2022                                            214-379-0827
                                                                                                                            NAO@KILGORELAW.COM
 ATTEST: FELICIA PITRE,                                                                                                        DALLAS COUNTY
 Clerk of the District Courts of Dallas County, Texas                                                                               SERVICE FEES
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           BYE-mo—,    Deputy
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           KARI MALONE



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                      Case 3:22-cv-01561-E Document OFFICER'S  RETURNPage 25 of 34 PageID 33
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Cause No. DC-22-05483

Court No.: 298th District Court

Style: MAHDI YAQUB
VS.
TEXAS A&M COMMERCE

Came to hand on the                                     day of                                      ,   20          ,    at                o'clock               .M.
Executed at                                                                             ,   Within the       County of                                            at
                 o'clock            .M. on the                           day of                                                           ,   20                   ,

by                          delivering                             to                        the                              within                       named




each, in person, a true copy     of this Citation together with         the accompanying copy      of this pleading, having ﬁrst endorsed on same date of
delivery. The distance actually traveled by me in serving such process was                          miles and my fees are as follows:     To certify which
witness my hand.
                     For serving Citation       $
                     For mileage                $                          of                           County,
                     For Notary                  $                         By                                                          Deputy
                                                     (Must be veriﬁed    if served outside the State of Texas.)
      Sigied and sworn   to by the said                                                before me this         day of                                         ,

                                           20             ,   to certify which witness my hand and seal of ofﬁce.




                                                                                            Notary Public                       County




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       1230 TAMU
       COLLEGE STATION TX            77433                                                                           No; [JG-22405483
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600 Commerce Street. Dallas. Texas 75202.

 ﬂuid Plaintiff being MAHD]      YAQUB                                                                                FELICIA PITRE
                                                                                                                    Clerk District Courts,
Filed in said Court 23rd day of May, 2012 agﬂnst                                                                     Dallas County. Texas

 TEXAS Astra COMMERCE. A DIVISION OF TEXAS AMI UNIVERSITY                                                    By: 55 RI MALON E, Deputy

For Suit, said suit being numbered 95.2-22-05483, the nature of which demand is as tiillows:                         Attorney for Plaintiff
Suit on EMPLOYMENT etc. as shown on said pclilion, a copy ofwhicl't accompanies                              NICHOLAS ALBAN O‘KELLY
this citation. lftttis citation is not served. It shall be returned uncxccmed.                              A'ttn KILGORE & KLLGORE PLLC
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 WITNESS: FELICIA PITRE. Clerk of the District. Courts of Dallas, County Texas.                                     DALLAS TX     Z’SZD-‘l-Z‘i'fl
 Given under my hand and the Seal of said Cant at oﬂicc on this the 22nd day of Jam. 2022                                214-379-0827
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 ATTFS’I': FELICIA PITRE.                                                                                         DALLAS C0 l.-'N1"t’
 Clerk of the: District Courts ul‘ Dallas County. Texas                                                                SERVICE FEES
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     Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22                    Page 28 of 34 PageID    36 DISTRICT CLERK
                                                                                                  DALLAS CO., TEXAS
                                                                                                  Loaidi Grove DEPUTY




                                             CAUSE NO. DC-22-05483

    MAHDI YAQUB,                                               § IN THE DISTRICT COURT OF
        Plaintiff,                                             §
                                                               §
    v.                                                         §
                                                               § DALLAS COUNTY, TEXAS
    TEXAS A&M UNIVERSITY -COMMERCE,                            §
    A DIVISION OF TEXAS A&M                                    §
    UNIVERSITY SYSTEM                                          §
          Defendant.                                           §
                                                               § 298TH JUDICIAL DISTRICT




                                 DEFENDANTS’ ORIGINAL ANSWER


           Defendant Texas A&M University - Commerce, a Division of Texas A&M University

System (“TAMU Commerce”), files its Original Answer to Plaintiff’s Petition, and in their

defense respectfully show:

                                        I. SPECIAL EXCEPTIONS

           Defendant specially excepts to Plaintiff’s Petition for failing to state a maximum amount of

damages. The allegations of damages in the Petition are unliquidated in nature and fail to state

with specificity the maximum amount of damages claimed by Plaintiff. Pursuant to Texas Rule of

Civil Procedure 47, Plaintiff must amend his Petition so as to specify the maximum amount

claimed.1




1
    See Horizon v. Auld, 34 S.W.3d 887, 896-897 (Tex. 2000).


Defendants’ Original Answer                                                                          1

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  Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22                  Page 29 of 34 PageID 37



                                     II. GENERAL DENIAL

        Pursuant to Texas Rule of Civil Procedure 92, Defendant generally denies, each and every,

all and singular, the allegations contained in Plaintiff’s Petition and demand strict proof thereof as

allowed under the laws of the State of Texas. By this general denial, Defendant would require

Plaintiff to prove every fact to support the claims asserted in his Petition by a preponderance of the

evidence.

                                         III. DEFENSES

        Pleading further, Defendant hereby asserts the following affirmative defenses to which they

may be entitled and reserves the right to supplement or amend them throughout the development

of the case:

                                        FIRST DEFENSE
                               Failure to State a Cognizable Claim

        Plaintiff failed to state claims upon which relief may be granted. Defendant further states

that any and all employment actions regarding the Plaintiff were taken for legitimate, non-

retaliatory reasons.

                                      SECOND DEFENSE
                                      Sovereign Immunity

        Sovereign immunity from suit bars any and all of Plaintiff’s claims to which that defense

may apply. Sovereign immunity from liability bars Plaintiff’s recovery to the extent it applies.

Plaintiff has not alleged any waiver of sovereign immunity, nor has he complied with the provisions

of any statute that would serve as a limited waiver of immunity.

                                        THIRD DEFENSE
                                            Standing

        Plaintiff lacks standing to assert one or more of the claims asserted against Defendant.


Defendants’ Original Answer                                                                           2

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  Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22                    Page 30 of 34 PageID 38



                                       FOURTH DEFENSE
                                          Limitations

        To the extent applicable, Defendant asserts the defense of limitations for any of Plaintiff’s

claims asserted after the expiration of the applicable statute of limitation period and for any failures

to timely comply with any other filing deadlines required by law.

                                         FIFTH DEFENSE
                                        Mitigation and Offset

        Alternatively, Plaintiff’s own acts and/or omissions caused or contributed to Plaintiff’s

alleged damages, if any. Plaintiff's claims are barred, in whole or in part, to the extent that Plaintiff

has failed to mitigate any recoverable damages he may have sustained, and/or any damages must

be reduced and/or offset by the amount which Plaintiff may be entitled had he mitigated his

claimed damages.

                                     SIXTH DEFENSE
                     Limits of Compensatory/Punitive/Exemplary Damages

        Alternatively, Defendants plead the statutorily prescribed limits on compensatory,

punitive, and exemplary damages under applicable law.

                                       SEVENTH DEFENSE
                                          One Remedy

        Alternatively, Plaintiff cannot recover damages under multiple or different theories and

causes of action for the same or similar acts. Plaintiff is entitled to only one remedy for his claims.

                                     IV. RIGHT TO AMEND

        Defendant reserves the right to amend its Answer to plead additional defenses as those

defenses may become known.




Defendants’ Original Answer                                                                            3

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  Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22              Page 31 of 34 PageID 39



                                          V. PRAYER

        WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that Plaintiff

take nothing by reason of his actions against Defendant, and Defendant be awarded its reasonable

and necessary attorney’s fees and costs of court, and for such other and further relief to which

Defendant may show itself to be justly entitled.



                                                   Respectfully submitted,

                                                   KEN PAXTON
                                                   Attorney General of Texas

                                                   BRENT WEBSTER
                                                   First Assistant Attorney General

                                                   GRANT DORFMAN
                                                   Deputy First Assistant Attorney General

                                                   SHAWN COWLES
                                                   Deputy Attorney General for Civil Litigation

                                                   CHRISTOPHER D. HILTON
                                                   Chief - General Litigation Division

                                                   /s/ Jeffrey E. Farrell
                                                   JEFFREY E. FARRELL
                                                   Texas Bar No. 00787453
                                                   Assistant Attorney General
                                                   Office of the Attorney General
                                                   General Litigation Division - 019
                                                   P.O. Box 12548, Capitol Station
                                                   Austin, Texas 78711-2548
                                                   Tel: (512) 463-2120/Fax: (512) 320-0667
                                                   jeffrey.farrell@oag.texas.gov

                                                   ATTORNEY FOR DEFENDANT




Defendants’ Original Answer                                                                   4

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  Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22              Page 32 of 34 PageID 40



                               CERTIFICATE OF SERVICE
       I certify that a copy of the foregoing document was served upon the following counsel of
record via the E-Service by File and Serve Texas on the 18th day of July, 2022:

Nicholas A. O’Kelly
Kilgore & Kilgore PLLC
3141 Hood Street, Suite 500
Dallas, Texas 75219
nao@kilgorelaw.com

                                           /s/ Jeffrey E. Farrell
                                           JEFFREY E. FARRELL
                                           Assistant Attorney General




Defendants’ Original Answer                                                                  5

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        Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22       Page 33 of 34 PageID 41


                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Laura Hendrix on behalf of Jeffrey Farrell
Bar No. 787453
Laura.Hendrix@oag.texas.gov
Envelope ID: 66398582
Status as of 7/18/2022 3:08 PM CST
Associated Case Party: MAHDI YAQUB
Name                    BarNumber   Email                  TimestampSubmitted      Status
NICHOLAS ALBANO'KELLY               NAO@KILGORELAW.COM     7/18/2022 10:02:03 AM   SENT




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           Case 3:22-cv-01561-E Document 1-4 Filed 07/19/22            Page 34 of 34 PageID 42


                         Automated Certificate of eService
This automated certificate of service was created by the efiling system. The filer served this
document via email generated by the efiling system on the date and to the persons listed below.
The rules governing certificates of service have not changed. Filers must still provide a certificate
of service that complies with all applicable rules.

Laura Hendrix on behalf of Jeffrey Farrell
Bar No. 787453
Laura.Hendrix@oag.texas.gov
Envelope ID: 66398582
Status as of 7/18/2022 3:08 PM CST
Case Contacts
Name              BarNumber   Email                           TimestampSubmitted      Status
Jeffrey Farrell               jeffrey.farrell@oag.texas.gov   7/18/2022 10:02:03 AM   SENT
Laura Hendrix                 laura.hendrix@oag.texas.gov     7/18/2022 10:02:03 AM   SENT




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